Case 3:19-mj-00206-LRA Document 3 Filed 08/05/19 Page 1 of 20

 

see Ee SSIssipp
IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF MISSISSIPPI 19
NORTHERN DIVISION

 

 

 

 

 

 

IN THE MATTER OF THE SEARCH OF ;
KOCH FOODS OF MISSISSIPPI, LLC CaseNo._ 9 IAM) LOG Uf
108 MORRIS TULLOS DR.,
MORTON, MS 39117 Filed Under Seal

AFFIDAVIT IN SUPPORT OF

AN APPLICATION FOR AN ADMINISTRATIVE SEARCH WARRANT

I, Anthony Todd Williams Jr., being first duly sworn, hereby depose and state as follows:

INTRODUCTION AND AGENT BACKGROUND

 

L. I make this affidavit in support of an application for an administrative search

warrant to search the following premises and seize the items listed in Attachment B:
ai The business is located at 108 Morris Tullos Drive, Morton, Mississippi

39117, and its curtilage and outbuildings, appurtenances, and attached and detached garages and
vehicles and trailers located on such curtilage, including any and all parking lots and persons
inside vehicles; more particularly described in Attachment A.

2. This affidavit is submitted in support of an application, pursuant to Title 8,
United States Code, Section 1357, for a warrant to search the premises of Koch Foods of
Mississippi, LLC (108 Morris Tullos Drive, Morton, Mississippi 39117) for undocumented
illegal aliens.

3, I am a Special Agent with Homeland Security Investigations (“HSI”), within
United States Immigration and Customs Enforcement (“ICE”). 1 am assigned to the Office of the
Resident Agent in Charge, Jackson, Mississippi. I have been trained specifically in the

investigation and elements of federal crimes at the Federal Law Enforcement Training Center at

 
Case 3:19-mj-00206-LRA Document 3 Filed 08/05/19 Page 2 of 20

Glynco, Georgia. I hold Bachelors of Art and Masters of Science degrees in Criminal Justice
from the University of Southern Mississippi. I am also a graduate of the United States Border
Patrol Academy at the Federal Law Enforcement Training Center in Artesia, New Mexico. I
have approximately 10 years of experience as a federal law enforcement officer and criminal
investigator.

4. My experience as a federal law enforcement officer and criminal investigator
includes the investigation and prosecution of violations of criminal laws relating to unlawful
entry, employment, and physical presence in the United States of individuals subject to the
Immigration and Nationality Act. My current duties include conducting criminal investigations
of violations of Federal Statutes and administrative violations of the Immigration and Nationality
Act and Title 8 of the United States Code.

5. This affidavit is intended to show only that there is sufficient probable cause for
the requested warrant and does not set forth all of my knowledge about this matter. This
affidavit is based on my knowledge arising from my participation in this investigation; upon
information provided to me by other Homeland Security Investigations (HSD agents, law
enforcement officers and government officials jointly participating in this investigation. Because
this affidavit is being submitted for the limited purpose of establishing probable cause for the
issuance of a search warrant, it does not contain every fact known to me or other agents of HSI.

6. Based on my training and experience and the facts as set forth in this affidavit,
there is probable cause to believe undocumented illegal aliens are present at Koch Foods of
Mississippi, LLC. There is also probable cause to search the premises described in Attachment
A for evidence of these crimes and contraband or fruits of these crimes, as described in

Attachment B.
Case 3:19-mj-00206-LRA Document 3 Filed 08/05/19 Page 3 of 20

ADMINISTRATIVE PROBABLE CAUSE

7. Koch Foods of Mississippi is a division of Koch Foods. Koch Foods is
headquartered in Park Ridge, Illinois. Koch Foods is a leading poultry processor in the United
States with locations across Alabama, Georgia, Illinois, Mississippi, Ohio and Tennessee.
According to their website, all live operations, which include feedmills, hatcheries, breeders and
broilers, are based in Mississippi, Alabama and Georgia.

8. Homeland Security Investigations (HSI) Jackson, Mississippi, is investigating
Koch Foods, for illegally employing subjects without work authorization in the United States.
HSI Jackson has recently received numerous HSI Tip Line leads suggesting Koch Foods (a
chicken processing company with a large industrial footprint in the state of Mississippi), is
knowingly hiring and employing illegal aliens and/or subjects without employment authorization
from the Department of Homeland Security. Initial queries within HSI and ICE databases
revealed numerous historical encounters (from September 10, 2002 to April 13, 2019) and
administrative arrests, of subjects illegally present in the United States that claimed to be
employed by Koch Foods in Mississippi.

HISTORICAL ICE ENCOUNTERS/ARRESTS

9. Queries of the Enforcement Integrated Database Arrest Graphic User Interface for
Law Enforcement (EAGLE) revealed approximately 144 historical ICE encounters and/or arrests
from September 10, 2002 to April 13, 2019 of illegal aliens who during processing indicated
employment at Koch Foods in Morton and/or Forest, MS. In addition to indicating employment
at Koch Foods, numerous of the illegal aliens presented agents with Koch Foods employment
identification documents (IDs), containing their photographs and assumed identities utilized for

employment.
Case 3:19-mj-00206-LRA Document 3 Filed 08/05/19 Page 4 of 20

10. On December 6, 2017, Isabela SILVESTRE-Perez, a Guatemalan national, was
arrested by HSI Jackson, Mississippi and the Mississippi Attorney General’s Office at the Koch
Foods Processing Plant located at 108 Morris Tullos Dr., Morton, MS 39117 for Identity Theft.
At the time of arrest, SILVESTRE-Perez was in possession of an Employee ID card. A
photograph appearing to be SILVESTRE-Perez was depicted on it along with the name of Loyda
R Perez. The identification also depicted what appears to be the employee number, 200104987
and the hire date of March 5, 2017. According to ICE records related to this investigation, it was
determined that SILVESTRE-Perez did not possess legal documents to work or reside in the
United States, was subject to a Final Removal Order issued by an Immigration Judge and was
working under the assumed identity of an US Citizen. SILVESTRE-Perez was convicted of
Identity Theft charges by the State of Mississippi and later arrested by ICE, Enforcement and
Removal Office (ERO) in Jackson, MS. SILVESTRE-Perez was removed to Guatemala by ICE
in 2018.

11. On December 13, 2017, Antonio TORREZ-Domingo, a Guatemalan national, was
encountered by ERO Jackson, Mississippi, during the execution of a Field Operation in Forest,
MS. According to ICE records, it was determined that TORREZ-Domingo did not possess legal
documents to work or reside in the United States. TORREZ-Domingo was arrested by ERO
Jackson and transported for processing and later removed him from the United States. ICE
processing records listed TORREZ-Domingo’s “Name and Address of (Last)(Current) My
experience as a federal law enforcement officer and criminal investigator includes Employer” as
“Koch Foods”. On April 4, 2019, TORREZ-Domingo was arrested by the United States Border
Patrol in Texas furthering his illegal entry into the United States. TORREZ-Domingo’s final

order of removal was reinstated pursuant to Section 241(a)(5) of the Immigration and Nationality

4
Case 3:19-mj-00206-LRA Document 3 Filed 08/05/19 Page 5 of 20

Act and was held at the El Paso, Texas processing center in ICE custody pending removal from
the My experience as a federal law enforcement officer and criminal investigator includes. On
April 12, 2019, with the assistance of ERO officers assigned to El Paso, Texas ERO, a sworn
statement was taken from TORREZ-Domingo. TORREZ-Domingo stated to the officers that at
the time he was arrested by ICE in 2017, he was working for Koch Foods in Forest, MS.
According to TORREZ-Domingo he was being paid $9.50 per hour and did not remember the
name he was using to work there. TORREZ-Domingo also stated that the plant knew his
immigration status and that there was “a lot of illegals working there.”

12. On April 18, 2017, Marcelo XOLO-Chapol, a Mexican national, was encountered
by ERO Jackson, Mississippi, during Criminal Alien Program (CAP) checks at the Morton
Police Department in Morton, Mississippi. According to ICE records, it was determined that
XOLO-Chapol did not possess legal documents to work or reside in the United States. XOLO-
Chapol was administratively arrested by ERO Jackson and transported for processing. ICE
processing records listed XOLO-Chapol’s “Name and Address of (Last)(Current) My experience
as a federal law enforcement officer and criminal investigator includes Employer” as “Koch
Foods” in Morton, MS. KOLO-Chapol was released on bond from ICE pending further
proceedings with the Immigration Court. On April 15, 2019, your affiant interviewed XOLO-
Chapol telephonically. During this interview, XOLO-Chapol stated that at the time of his ICE
arrest he was working for Koch Foods in Morton, MS. XOLO-Chapol indicated that he worked
for about four years for Koch Foods, one year in the plant on Morris Tullos Dr. and three years
in the plant on Koch Dr. both located in Morton, MS. XOLO-Chapol also stated that he worked
for Koch Foods under the assumed identity of Cosme De Jesus TORRES, DOB 03/04/XXXX,

SSN XXX-XX-2183.
Case 3:19-mj-00206-LRA Document 3 Filed 08/05/19 Page 6 of 20

13. On March 13, 2017, Anita RODRIGUEZ-Bonefacio, a Mexican national, was
encountered by ERO Jackson, Mississippi, during CAP checks at the Scott County Jail in Forest,
Mississippi. According to ICE records, it was determined that RODRIGUEZ-Bonefacio did not
possess legal documents to work or reside in the United States. ICE records also indicated that
RODRIGUEZ-Bonefacio was arrested by the Mississippi Attorney General’s Office for Identity
Theft and/or Attempted to Obtain Identity (97-15-19 MS Code) and had posted a bond when
released to ICE custody. RODRIGUEZ-Bonefacio was arrested by ERO Jackson and
transported for processing. ICE processing records listed RODRIGUEZ-Bonefacio’s “Name and
Address of (Last)(Current) United States Employer” as “Koch Foods” on Hwy 501 (also known
as Main St.), Forest, MS.

14. On December 3, 2018, Maria MARROQUIN-Baltazar, a Guatemalan national,
was encountered by ERO Jackson, Mississippi during CAP checks at the Rankin County Jail in
Brandon, Mississippi. According to ICE records, it was determined that Maria MARROQUIN-
Baltazar did not possess legal documents to work or reside in the United States. Maria
MARROQUIN-Baltazar was administratively arrested by ERO Jackson and transported for
processing. ICE processing records listed Maria MARROQUIN-Baltazar’s “Name and Address
of (Last)(Current) United States Employer” as “Koch Foods” in Morton, MS. Maria
MARROQUIN-Baltazar was ordered to be removed from the United States by an immigration
judge on December 28, 2018 and subsequently removed to Guatemala on February 14, 2019
from Alexandria, Louisiana.

15. On December 6, 2018, Moises Justiniano OROZCO-Tema, a Guatemalan
national, was encountered by ERO Jackson, Mississippi, during CAP checks at the Rankin

County Jail in Brandon, Mississippi. According to ICE records, it was determined that Moises

6
Case 3:19-mj-00206-LRA Document 3 Filed 08/05/19 Page 7 of 20

Justiniano OROZCO-Tema did not possess legal documents to work or reside in the United
States. Moises Justiniano OROZCO-Tema was administratively arrested by ERO Jackson and
transported for processing. ICE processing records listed Moises Justiniano OROZCO-Tema’s
“Name and Address of (Last)(Current) United States Employer” as “Koch Foods” in Morton,
MS. Maria MARROQUIN-Baltazar was granted voluntary departure by an immigration judge on
January 15, 2019 and on February 14, 2019, Moises Justiniano OROZCO-Tema departed the
United States to Guatemala from Alexandria, Louisiana.

16. On March 4, 2019, Demetrio GONZALEZ-Castillo, a Mexican national, was
encountered by ERO Jackson, Mississippi, during CAP checks at the Leake County Jail in
Carthage, Mississippi. According to ICE records, it was determined that Demetrio GONZALEZ-
Castillo did not possess legal documents to work or reside in the United States. Demetrio
GONZALEZ-Castillo was administratively arrested by ERO Jackson and transported for
processing. ICE processing records listed Demetrio GONZALEZ-Castillo’s “Name and Address
of (Last)(Current) United States Employer” as “Koch Foods” in Morton, MS. Demetrio
GONZALEZ-Castillo was granted voluntary departure by an immigration judge on June 18,
2019.

ALTERNATIVES TO DETENTION

17. ICE routinely utilizes the Alternatives to Detention (ATD) Program for subjects
in ICE custody. The Alternatives to Detention Program is a flight-mitigation tool that uses
technology and case management to ensure compliance with release conditions and facilitate
alien compliance with court hearings and final orders of removal while allowing aliens to remain
in their community contributing to their families, community organizations, and, if necessary,

wrapping-up their affairs in the United States as they move through immigration proceedings.

7
Case 3:19-mj-00206-LRA Document 3 Filed 08/05/19 Page 8 of 20

The ATD Program is not a substitute for detention nor is it used as a removal tool; however, the
program may be appropriate for an alien who is released pursuant to: an Order of Release on
Recognizance (OREC), an Order of Supervision (OSUP), a grant of parole; or a bond (unless the
immigration judge or board of immigration appeals has determined custody and did not include
ATD as a provision). To be eligible for the ATD program participants must be adults 18 years of
age or older, be removable, and be at some stage of immigration proceedings. The ATD Program
supervises participants, with contractor support, utilizing a combination of home visits, office
visits, alert response, court tracking, and technology. The current government contractor (BI
Inc.) for ATD operates under the Intensive Supervision Appearance Program (ISAP). The
contract known as ISAP III allows ATD officers the ability to determine the frequency of home
and office visits, types of technology, telephonic, GPS or SmartLink, court and alert
management. Case management levels and technology assignment can be reviewed and adjusted
by the ATD officer at any time depending upon change in circumstances and compliance.

18. The ATD Program utilizes three (3) different forms of technology that help
monitor participants while enrolled in the program. The forms of technology include:

a. Telephonic reporting utilizes a participant’s voice to create a biometric
voiceprint during the enrollment process, every time the participant calls
in his/her voice is compared against the voiceprint.

b. GPS monitoring requires at least three (3) satellites to locate a unit
attached to the participant’s ankle. When a participant is within range of
more than three satellites a GPS unit give more accurate data regarding the

participant’s location.
Case 3:19-mj-00206-LRA Document 3 Filed 08/05/19 Page 9 of 20

c. SmartLink enables ATD officers and case specialists to keep participants
focused on the conditions of release via their smartphone or tablet, they
are able to verify a participant’s identity, determine their location, and
quickly collect status change information.

19. Enrollment in the ATD program does not grant any immigration benefits
including employment authorization.

ILLEGAL ALIENS ENROLLED IN ATD & EMPLOYED BY KOCH FOODS

20. Queries of the subjects currently enrolled in the ICE/ERO Jackson ATD program,
revealed 16 illegal aliens that in 2018 were working at Koch Foods processing plants in
Mississippi and, as of July 29, 2019, 21 have or are currently working for Koch Foods
processing plant located at 108 Morris Tullos Drive, Morton, Mississippi 39117.

21. Below are examples of subjects currently enrolled in the ICE/ERO Jackson ATD
program who have reported working for Koch Foods and the analysis of historical GPS
coordinates for the subjects:

a. On June 15, 2016 Elsa AGUILAR-Pablo, a Guatemalan national, was
encountered by United States Border Patrol (USBP) agents in the Rio
Grande Valley Sector near McAllen, Texas. At the time of the encounter,
USBP agents determined AGUILAR-Pablo had unlawfully entered the
United Stated from Mexico, at a place other than as designated by the
Secretary of Homeland Security and did not possess legal documents to
work or reside in the United States. AGUILAR-Pablo was arrested by
USBP and transported to the McAllen Border Patrol Station for further

administrative processing. AGUILAR-Pablo was processed for an

9
Case 3:19-mj-00206-LRA Document 3 Filed 08/05/19 Page 10 of 20

Expedited Removal and turned over to ICE for custody determination. At
that time, AGUILAR-Pablo provided ICE with an address of 4955
Highway 80, Morton, Mississippi 39117, and was enrolled in the
ICE/ERO/ATD program with GPS monitoring pending removal from the

United States.

AGUILAR-Pablo reported to the ATD/ISAP case specialist that she is
currently employed with Koch Foods, Inc. located at 108 Morris Tullos
Dr., Morton, MS 39117. Queries of the historical GPS coordinates
associated with Elsa AGUILAR-Pablo’s electronic monitoring ankle
bracelet revealed numerous daily captured coordinates located within the
Koch Foods Processing Plant located at 108 Morris Tullos Dr., in Morton,
Historical GPS coordinates also revealed AGUILAR-Pablo travels from
her current address (52 Smith St., Morton, MS 39117) to the Koch Foods
Processing Plant multiple times a week. Upon arriving at the Koch Foods
Processing Plant, AGUILAR-Pablo remains on the Koch Foods
Processing Plant property for approximately 8 to 10 hours. For example,
on July 25, 2019, at approximately 10:04 pm AGUILAR-Pablo arrived at
the Koch Foods Processing Plant. AGUILAR-Pablo remained at the Koch
Foods Processing Plant until approximately 8:04 am on July 26, 2019,

when she departed and returned to her residence.

10
Case 3:19-mj-00206-LRA Document 3 Filed 08/05/19 Page 11 of 20

Record checks for Elsa AGUILAR-Pablo revealed she does not possess
employment authorization from the United States Department of

Homeland Security.

b. On June 15, 2018 Magdalena ALONZO-Martin, a Guatemalan national,
was encountered by USBP agents about 0.5 mile west of the San Luis,
Arizona Port of Entry. At the time of the encounter, USBP agents
determined AGUILAR-Pablo had unlawfully entered the United Stated
from Mexico, at a place other than as designated by the Secretary of
Homeland Security and did not possess legal documents to work or reside
in the United States. ALONZO-Martin was arrested by USBP and
transported to the Yuma Border Patrol Station for further administrative
processing. ALONZO-Martin was served with a Notice to Appear (I-862)
and turned over to ICE for custody determination. At that time, ALONZO-
Martin provided ICE with an address of 160 Pace St., Forest, Mississippi
39074, and was enrolled in the ICE/ERO/ATD program with GPS

monitoring pending removal from the United States.

ALONZO-Martin reported to the ATD/ISAP case specialist that she is
currently employed with Koch Foods, Inc. located at 108 Morris Tullos
Dr., Morton, MS 39117. Queries of the historical GPS coordinates
associated with Magdalena ALONZO-Martin’s electronic monitoring
ankle bracelet revealed numerous daily captured coordinates located

within the Koch Foods Processing Plant located at 108 Morris Tullos Dr.,

11
Case 3:19-mj-00206-LRA Document 3 Filed 08/05/19 Page 12 of 20

in Morton. Historical GPS coordinates also revealed ALONZO-Martin
travels from her current address (259 Hillsboro St., Forest, MS 39117) to
the Koch Foods Processing Plant multiple times a week. Upon arriving at
the Koch Foods Processing Plant, ALONZO-Martin remains on the Koch
Foods Processing Plant property for approximately 8 to 10 hours. For
example, on July 25, 2019, at approximately 10:13 pn ALONZO-Martin
arrived at the Koch Foods Processing Plant. ALONZO-Martin remained at
the Koch Foods Processing Plant until approximately 8:06 am on July 26,

2019, when she departed and returned to her residence.

Record checks for Magdalena ALONZO-Martin revealed she does not
possess employment authorization from the United States Department of

Homeland Security.

ec. On June 15, 2018 Juana CARMELO-Silvestre, a Guatemalan national,
was encountered by USBP agents in the Rio Grande Valley near El Paso,
Texas. At the time of the encounter, USBP agents determined
CARMELO-Silvestre had unlawfully entered the United Stated from
Mexico, at a place other than as designated by the Secretary of Homeland
Security and did not possess legal documents to work or reside in the
United States. CARMELO-Silvestre was arrested by USBP and
transported to the Ysleta Border Patrol Station for further administrative
processing. CARMELO-Silvestre was served with an Expedited Removal

Order (J-860) and turned over to ICE for custody determination. At that

12
Case 3:19-mj-00206-LRA Document 3 Filed 08/05/19 Page 13 of 20

time, CARMELO-Silvestre provided ICE with an address of 331 N Broad
St., Forest, Mississippi 39074, and was enrolled in the ICE/ERO/ATD

program with GPS monitoring pending removal from the United States.

CARMELO-Silvestre reported to the ATD/ISAP case specialist that she is
currently employed with Koch Foods, Inc. located at 108 Morris Tullos
Dr., Morton, MS 39117. Queries of the historical GPS coordinates
associated with Juana CARMELO-Silvestre’s electronic monitoring ankle
bracelet revealed numerous daily captured coordinates located within the
Koch Foods Processing Plant located at 108 Morris Tullos Dr., in Morton.
Historical GPS coordinates also revealed CARMELO-Silvestre travels
from her current address (311 Banks St., Forest, MS 39117 based on GPS)
to the Koch Foods Processing Plant multiple times a week. Upon arriving
at the Koch Foods Processing Plant, CARMELO-Silvestre remains on the
Koch Foods Processing Plant property for approximately 8 to 10 hours.
For example, on June 9, 2019, at approximately 8:33 pn CARMELO-
Silvestre arrived at the Koch Foods Processing Plant. CARMELO-
Silvestre remained at the Koch Foods Processing Plant until
approximately 6:14 am on June 10, 2019, when she departed and returned

to her residence.

Record checks for Juana CARMELO-Silvestre revealed she does not
possess employment authorization from the United States Department of

Homeland Security and is subject to a Final Removal Order.

13
Case 3:19-mj-00206-LRA Document 3 Filed 08/05/19 Page 14 of 20

INTERVIEWS OF ATD ENROLLEES WORKING AT KOCH FOODS

22. On May 9, 2019, HSI Special Agent (SA) Todd Williams and DO Francisco
Ayala conducted an interview of Celsa Elena BAMACA-Gonzalez at the HSI Jackson,
Mississippi office. During the interview BAMACA-Gonzalez provided information related to
her employment at the Koch Foods plant located at 108 Morris Tullos Dr., Morton, MS 39117
and the plant located at 410 Koch Dr., Morton, MS 39117.

23.  Celsa Elena BAMACA-Gonzalez is a citizen and national of Guatemala who is
currently illegally present in the United States (US). BAMACA-Gonzalez was arrested on
December 9, 2016 furthering her illegal entry in to the United States and was released from
custody pending removal. BAMACA-Gonzalez is enrolled in the Alternatives to Detention
Program and is currently reporting to ERO in Jackson, MS.

24. |BAMACA-Gonzalez stated that she lives in Forest, MS. She entered the United
States illegally in December 2016 and has been working for Koch Foods in Morton, MS since
September 2017.

25. BAMACA-Gonzalez stated that she is currently working for Koch Foods in
Morton, MS. She started working for the processing plant located at 410 Koch Dr., Morton, MS
39117 on or about August 3, 2018 and is assigned to the day shift (approximately from 7:00 am-
3:30 pm). BAMACA-Gonzalez stated before she started working at said location, she was
working in the plant located at 108 Morris Tullos Dr., Morton, MS 39117. According to
BAMACA-Gonzalez, she started working in said plant on or about September 2017.

26. BAMACA-Gonzalez stated to SA Williams and DO Ayala that she first applied to
work at Koch Foods through the Win Job Center in Forest, BAMACA-Gonzalez completed a

generic job application and within two months she received a phone call and was offered an

14
Case 3:19-mj-00206-LRA Document 3 Filed 08/05/19 Page 15 of 20

interview at Koch Foods in Morton, MS (Morris Tullos Dr. plant). BAMACA-Gonzalez stated
that a tall white female employee that speaks Spanish provided her with an application at the
Koch Foods plant. BAMACA-Gonzalez was also required to take a urine test as part of the
application. At the time of employment, BAMACA-Gonzalez was not authorized to work in the
United States by the United States Department of Homeland Security (DHS) and provided Koch
Foods with a fraudulent identification card and social security number (SSN). BAMACA-
Gonzalez was hired under the assumed identity of Juana Becerra (SSN XXX-XX-4221).
BAMACA-Gonzalez was hired the same day, was issued an employee ID card with no photo on
it and started working immediately. BAMACA-Gonzalez was assigned to work day shift and
remained working at the plant for approximately 11 months as Juana Becerra.

27. |. BAMACA-Gonzalez applied and received permission from DHS to work in the
United States. BAMACA-Gonzalez stated she received her employment authorization card
(EAC) and social security card (SSID) during the first week of June 2018. BAMACA-Gonzalez
then asked one of her co-workers if she could go to human resources to change her name, but he
said no and told her that she needed to quit and re-apply for a job.

28. Subsequently, BAMACA-Gonzalez explained to SA Williams and DO Ayala that
she went back to the Win Job Center in Forest and applied for a job at Koch Foods with her real
identity. BAMACA-Gonzalez was called on a Wednesday and was told to report the next Friday
for an interview at Koch Foods (plant is located on Koch Dr.) in Morton, MS. BAMACA-
Gonzalez, without formally quitting, stopped going to work to the Morris Tullos Dr. plant and
went to her interview. BAMACA-Gonzalez stated that she went through the same employment
process and identified a Hispanic female called Clara (approximately 30 years of age), who

assisted her through the hiring process. BAMACA-Gonzalez was not asked any questions related

15
Case 3:19-mj-00206-LRA Document3 Filed 08/05/19 Page 16 of 20

to prior employment and was hired to work day shift. BAMACA-Gonzalez was instructed to
report to work the next Monday at the plant. BAMACA-Gonzalez then returned to the plant in
Morris Tullos Dr. to pick up her check under the name of Juana Becerra and was not asked
anything about not showing up to work.

29. On the first day of employment at the plant on Koch Dr., BAMACA-Gonzalez
was issued an employee ID with her photo on it and taken to her section by a supervisor.
BAMACA-Gonzalez described her supervisor as a white male, approximately 55 years of age
and said his name was “William.” BAMACA-Gonzalez also stated that he did not speak Spanish
and that she was instructed on what she had to do.

30. DO Francisco Ayala verified BAMACA-Gonzalez’ information and cross
referenced it on the Mississippi Department of Employment Security (MDES), Employer’s
Quarterly Wage Report, 4" quarter of 2018, for Koch Foods of MS LLC (MDES number 62-
02110-2-00). The report shows that for the 3 quarter of 2018, Celsa BAMACA-Gonzalez with
the corresponding SSN XXX-XX-1636, was paid a total wage of $3,415.59 by Koch Foods (as
reported to MDES by Koch Foods) and $7,623.14 in the 4" quarter of 2018; BAMACA-
Gonzales’ real identity was not found in previous quarterly reports. Your affiant also verified
BAMACA-Gonzalez’ assumed identity information, Juana Becerra (SSN XXX-XX-4221), and
discovered it on the MDES, Employer’s Quarterly Wage Report, 3™ quarter of 2018, for Koch
Foods of MS LLC. The report shows that for the 3% quarter of 2018, Juana M. BECERRA with
the corresponding SSN XXX-XX-4221, was paid a total wage of $2,575.05 by Koch Foods.

31.  OnMay 7, 2019SA Williams, SA Brent Young and DO Ayala conducted an

interview of Ana SANTIZO-Tapia at the HSI Jackson, Mississippi office. During the interview

16
Case 3:19-mj-00206-LRA Document 3 Filed 08/05/19 Page 17 of 20

SANTIZO-Tapia provided information related to her employment at the Koch Foods plant
located at 108 Morris Tullos Dr., Morton, MS 39117.

32. Ana SANTIZO-Tapia is a citizen and national of Guatemala who is currently
illegally present in the United States. SANTIZO-Tapia was arrested on September 10, 2016
furthering her illegal entry in to the United States and was released from custody pending
removal from the United States. SANTIZO-TAPIA is enrolled in the Alternatives to Detention
Program and is currently reporting to ERO in Jackson, MS.

33. | SANTIZO-Tapia stated that she lives in Morton, MS. She entered the United
States illegally in September 2016 and has been working for Koch Foods in Morton, MS since
November 30, 2016.

34. SANTIZO-Tapia stated that she is working under the assumed identity of Maria
GOMEZ and is currently assigned to work nights from 10:00 pm to 8:00 am. Her unit is
responsible for assembling cardboard boxes that are later used by the plant. DO Ayala verified
the fraudulent name (assumed identity, Maria GOMEZ) used by SANTIZO-Tapia and
discovered it on the MDES, Employer’s Quarterly Wage Report, 4" quarter of 2018, for Koch
Foods of MS LLC (MDES number 62-02110-2-00). The report shows that for the 4"" quarter of
2018, Maria GOMEZ with the corresponding social security number XXXX-XX-4737, was paid
a total wage of $8,153.54 by Koch Foods (as reported to MDES by Koch Foods).

35. SANTIZO-Tapia explained to SA Williams, SA Young and DO Ayala that she
bought the assumed identity from an unidentified Hispanic male that lived in Forest, MS.
According to her, she was sold a small birth certificate and a Social Security Identification Card

(SSID) for $800.00 US Dollars (USD). Once she paid for said documents, then the same

17
Case 3:19-mj-00206-LRA Document 3 Filed 08/05/19 Page 18 of 20

Hispanic male made her a counterfeit identification (CID) with the assumed identity and her
photo for $150.00 USD.

36. SANTIZO-Tapia further explained that the first time she went to apply for
employment at Koch Foods in Morton, MS she used a different identity (mot Maria GOMEZ).
She was told by a Human Resources (HR) employee (unidentified female) at the plant that if the
“papers” were not good, she was not going to be hired. The HR employee, who spoke Spanish,
took the documents and a short time later returned and informed SANTIZO-Tapia that her
documents were not good and couldn’t be hired. Approximately three weeks later, SANTIZO-
Tapia returned to Koch Foods to apply for employment a second time. This time she provided
the CID with the name of Maria GOMEZ to the same HR employee. The HR employee took the
documents, processed her application and informed SANTIZO-Tapia that she could now start
working at the plant. SANTIZO-Tapia stated that even though she returned to the plant within
three weeks and used two different identities, the HR employee did not ask anything related to
her identity.

37. SANTIZO-Tapia also stated that during her interview, she was asked by a
supervisor if she had an ankle bracelet. SANTIZO-Tapia told the supervisor that she had one and
he said it was okay, but she needed to keep it charged. The supervisor, who she identifies as a
black male, stated that he knew “they” were poor and came to the United States to work.

38. Queries of ICE, United States Department of State and open source databases
revealed that a person by the name of Maria Guadalupe GOMEZ, born on October 8, XXXX in
Texas and with social security number XXXX-XX-4737 currently resides in the State of Texas.

Records also revealed that GOMEZ has a pending United States Passport application with the

18
Case 3:19-mj-00206-LRA Document 3 Filed 08/05/19 Page 19 of 20

United States Department of State, a State of Texas issued driver’s license and is registered to
vote.

39. This affidavit is being submitted simultaneously with a criminal warrant for
inspection to search at Koch Foods of Mississippi, LLC, located at 108 Morris Tullos Drive,
Morton, Mississippi 39117, for evidence of unlawfully employing illegal aliens.

CONCLUSION

40. Based on the facts and information as stated in this affidavit and my training and
experience, I submit that this affidavit supports probable cause for a warrant to search the
PREMISES described in Attachment A and seize the items described in Attachment B.

41. Based upon my training and experience, combined with the facts and observations
set forth in the foregoing paragraphs, I have reason to believe that undocumented illegal aliens
are present at 108 Morris Tullos Drive, Morton, Mississippi 39117.

42. In consideration of the facts presented, I respectfully request that this Court issue
a search warrant for the premises located at 108 Morris Tullos Drive, Morton, Mississippi 39117,
and all appurtenances thereto as more fully described in Attachment A and authorize the seizure

of the items described in Attachment B to this Affidavit.

19
Case 3:19-mj-00206-LRA Document 3 Filed 08/05/19 Page 20 of 20

REQUEST FOR SEALING
43. | further request that the Court order that all papers in support of this application,
including the affidavit and search warrant, be sealed until further order of the Court. These
documents discuss an ongoing criminal investigation that is neither public nor known to all of
the targets of the investigation. Accordingly, there is good cause to seal these documents

because their premature disclosure may seriously jeopardize that investigation.

Respectfully submitted,

odd 2 ip x y a
Anthony T dd Williams if
Special Agent
US Immigration and Customs Enforcement
Homeland Security Investigations

Ye;
Subscribed and sworn to before me on the ,4 _ day of August, 2019.

Qe KK CoA tio—_
INDA R. ANDERSON —
UNITED STATES MAGISTRATE JUDGE

20
